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 1                                                                       OCT 1 9 2016
 2                                                                                  district   Jourt
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 3                                                              'iGUTHERN.                      DEPUTY
                         UNITED STATES DISTRICT COURT by jflL,
 4                     SOUTHERN DISTRICT OF CALIFORNIA
 5

 6   MARISSA GLOVER,
                                            Case No.: 16-cv-0996-BEN-BLM
 7                 Plaintiff,
                                            ^PROPOSED! ORDER OF
 8                         V.                DISMISSAL RE: ACTION
 9   AMERICAN EXPRESS                       HON. ROGER T. BENITEZ
10
     CENTURION BANK; EQUIFAX
     INFORMATION SERVICES,
11   LLC; EXPERIAN
12   INFORMATION SOLUTIONS,
     INC.; AND, TRANS UNION
13   LLC,
14
                  Defendants.
15
16         Based upon the Parties’ Joint Motion, and good cause, this Court hereby
17   orders the Action to be, and is, dismissed without prejudice. Each party to bear
18   their own attorneys’ fees and costs.
19
20   IT IS SO ORDERED.
21
22

23   Dated:
24
                                             7                               rv"
                                                      TIoflTllOGER. T. Benitez
                                                      U.S. DISTRICT JUDGE
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27

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     [Proposed] Order of Dismissal                                     Page 1       of   1
